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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



IN RE MULTIPLAN HEALTH INSURANCE            Case No. 1:24-cv-06795
PROVIDER LITIGATION
                                            MDL No. 3121

                                            Hon. Matthew F. Kennelly
This Document Relates To:
ALL ACTIONS



              STATEMENT OF INTEREST OF THE UNITED STATES
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                                        INTRODUCTION

        The United States respectfully submits this statement under 28 U.S.C. § 517, which

permits the Attorney General to direct any officer of the Department of Justice “to attend to the

interests of the United States in a suit pending in a court of the United States.” 1 Id. Competitors’

use of algorithmic technologies to coordinate their decision-making poses a growing threat to the

free market competition on which our economic system is premised. The United States therefore

has a strong interest in the correct application of the antitrust laws to claims alleging algorithmic

collusion and information exchange under Section 1 of the Sherman Act, 15 U.S.C. § 1.

        The United States has filed multiple statements of interest and amicus briefs addressing

the proper legal framework for analyzing claims involving the joint use of algorithms. See, e.g.,

Brief for the United States as Amicus Curiae in Support of Plaintiffs-Appellants, Gibson v.

Cendyn Group, LLC, No. 24-3576 (9th Cir. Oct. 24, 2024), ECF No. 28. The United States also

remains committed to enforcing the antitrust laws against unlawful exchanges of competitively

sensitive information that take place through and alongside new technologies and is currently

litigating two civil cases challenging information-sharing agreements: United States v. Agri

Stats, Inc., No. 0:23-cv-3009-JRT-JFD (D. Minn. Sept. 28, 2023), and United States v.

RealPage, Inc., No. 1:24-cv-00710 (M.D.N.C. Aug. 23, 2024).




1
 The United States files this statement of interest in response to Defendants’ Joint Motion to Dismiss the
Consolidated Class Action Complaint, ECF No. 282 (“Class MTD”); Memorandum in Support, ECF No. 283
(“Class MTD Mem.”); Joint Motion to Dismiss the Consolidated Master Direct Action Plaintiff Complaint and
Direct Action Plaintiffs’ Short-Form Complaints, ECF No. 285 (“DAP MTD”); and Memorandum in Support, ECF
No. 286 (“DAP MTD Mem.”).


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                                         LEGAL BACKGROUND

         Section 1 of the Sherman Act forbids “[e]very contract, combination in the form of

trust or otherwise, or conspiracy, in restraint of trade.” 15 U.S.C. § 1. This language

comprises two primary elements: (1) “a contract, combination, or conspiracy”—i.e.,

“concerted action”— (2) that “unreasonably restrains trade.” 2 Am. Needle v. NFL, 560 U.S.

183, 186 (2010).

         Concerted action is conduct that “joins together separate decisionmakers” and thus

“deprives the marketplace of independent centers of decisionmaking.” Id. at 195 (internal

quotation marks omitted). Such joint action can take a variety of forms, from a written

contract, to a trust agreement, to a secret conspiracy, to the joint delegation of decisionmaking

power to a common agent. See United States v. Trans-Missouri Freight Ass’n, 166 U.S. 290,

292–97, 341 (1897); Standard Oil Co. of New Jersey v. United States, 221 U.S. 1, 70–76

(1911); Am. Tobacco Co. v. United States, 328 U.S. 781, 809–10 (1946); Am. Needle, 560

U.S. at 201. The existing antitrust laws address threats to competition without regard to which

technology rivals use to coordinate previously independent decisions. See United States v.

Union Pac. R.R. Co., 226 U.S. 61, 85–86 (1912) (The Sherman Act “embraces all forms of

combination, old and new.” (emphasis added)); United States v. Socony-Vacuum Oil Co., 310

U.S. 150, 223 (1940) (“[T]he machinery employed by a combination for price-fixing is

immaterial.”).

         Just as concerted action can take a variety of forms, its existence can be demonstrated

in several ways. Among others, concerted action may be inferred from evidence of an


2
  Plaintiffs also must show that the alleged restraint of trade substantially affected, or occurred in the flow of,
interstate or foreign commerce. McLain v. Real Est. Bd. of New Orleans, Inc., 444 U.S. 232, 241 (1980). We do not
address this element in this Statement of Interest. Nor do we address the requirement in private suits for plaintiffs to
establish antitrust standing and injury.

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invitation for collective action followed by conduct showing acceptance. 3 See Interstate Cir.

v. United States, 306 U.S. 208, 226–27 (1939); Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 935

(7th Cir. 2000). In Interstate Circuit, for example, the Supreme Court held: “[i]t was enough

that, knowing that concerted action was contemplated and invited, the [defendant] distributors

gave their adherence to the scheme and participated in it. Each [defendant] distributor was

advised that the others were asked to participate; each knew that cooperation was essential to

successful operation of the plan. They knew that the plan, if carried out, would result in a

restraint of commerce, . . . and knowing it, all participated in the plan.” 306 U.S. at 226-27;

see also United States v. Paramount Pictures, Inc., 334 U.S. 131, 142 (1948) (“It is not

necessary to find an express agreement in order to find a conspiracy. It is enough that a

concert of action is contemplated and that the defendants conformed to the arrangement.”);

Am. Tobacco, 328 U.S. at 810 (circumstances showing “a unity of purpose or a common

design and understanding” among competitors).

         Once concerted action is shown, the question becomes whether it unreasonably

restrains trade. Ohio v. Am. Express, 585 U.S. 529, 540 (2018) (“Amex”). A restraint of trade

may be unreasonable in one of two ways. Id. at 540-41. First, it may be unreasonable per se,

without inquiry into its competitive effects. The paradigmatic per se unreasonable restraint is

an agreement between competitors to fix prices.4 Socony-Vacuum, 310 U.S. at 218. Second, a


3
  These various methods of showing concerted action apply to the joint use of pricing algorithms. To start, there
could be evidence of an express agreement, either among competitors—e.g., Plea Agreement at ¶ 4(b), United States
v. Topkins, No. 3:15-cr-00201 (N.D. Cal. Apr. 30, 2015), ECF No. 7 (agreement between competitors “to adopt
specific pricing algorithms”)—or between an algorithm provider and a user. Alternatively, an algorithm provider’s
“pitch” could constitute an invitation for collective action among competitors—by indicating to users that the same
pitch was made to their competitors and insinuating that using the algorithm could help them avoid competition—
and subsequent joint use of the algorithm could demonstrate acceptance of that invitation. See, e.g., Interstate Cir.,
306 U.S. at 226–27.
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  Market definition—which aids in assessing whether a restraint has the potential for actual adverse effects on
competition—is not required for per se-illegal restraints. See FTC v. Superior Ct. Trial Laws. Ass’n, 493 U.S. 411,
430-31 (1990).

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restraint may be unreasonable under the “rule of reason,” a “fact-specific assessment” of the

challenged conduct’s “effect on competition.” Amex, 585 U.S. at 541 (internal quotation

marks omitted).

                                                ARGUMENT

         The United States files this Statement to make two points addressing errors of law in

Defendants’ arguments. First, using a common pricing algorithm can indeed qualify as concerted

action under Section 1 of the Sherman Act, 15 U.S.C. § 1, even if the competitors do not always

use the algorithm in the same way. Second, competitors’ exchange of competitively sensitive

information can violate Section 1 even if those exchanges occur through an intermediary. The

United States takes no position on the disposition of any other issues in this case, including the

facts alleged by Plaintiffs.

    I.       Competitors’ Joint Use of a Common Pricing Algorithm to Set Starting-Point
             or Maximum Prices Can Be Concerted Action Under Section 1

         Defendants argue that Plaintiffs fail to plausibly allege a conspiracy to suppress out-of-

network reimbursement rates in part because Plaintiffs do not plead that payors “use MultiPlan in

the same way to determine individual reimbursements.”5 Class MTD Mem. at 2. This argument



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  Citing several non-binding district-court decisions, Defendants also argue that Plaintiffs’ price-fixing claim must be
dismissed because, as a matter of law, the rate at which an out-of-network healthcare provider is reimbursed for its
services is not a “cognizable ‘price’ capable of being ‘fixed.’” Class MTD Mem. at 35-38. Specifically, Defendants
assert that a reimbursement rate is not a “price” because reimbursements to out-of-network providers are not a
product or service available for sale; the relevant product, according to Defendants, is health insurance, and the price
is the premium paid by patients. Id. But where, as here, insurers pay providers directly for healthcare services, see
Consolidated Class Action Complaint ¶¶ 11, 51, 87, 265, ECF No. 172, insurers are, in fact, purchasers of those
services. Blue Cross and Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d 1406, 1414 (7th Cir. 1995) (Posner,
J.) (holding that Blue Cross was a “direct purchaser” of healthcare services from Marshfield Clinic because “the
money went directly from Blue Cross to the Clinic, and although the two entities were not linked by any overarching
contract, each payment and acceptance was a separate completed contract”); cf. FTC v. Advoc. Health Care Network,
841 F.3d 460, 468 (7th Cir. 2016) (in hospital merger case, describing the product market as “those services sold to
commercial health plans and their members”). And a price-fixing conspiracy among purchasers is per se illegal. See,
e.g., Mandeville Island Farms, Inc. v. American Crystal Sugar Co., 334 U.S. 219, 235-36 (1948); Socony-Vacuum,
310 U.S. at 223-27 & n.59. Indeed, Defendants’ argument to the contrary essentially seeks an antitrust exemption for
these purchases—a request that is “properly addressed to Congress,” not this Court. Nat’l Soc. of Pro. Eng’rs v.
United States, 435 U.S. 679, 689-90 (1978).

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is based on an incorrect understanding of the law and of the types of concerted action the

Sherman Act covers. Under well-established precedent, there can be concerted action subject to

Section 1 in setting the starting points of prices even if the conspirators have some discretion in

choosing how often to follow them.

       The Sherman Act defines concerted action broadly because of its anticompetitive risk.

See supra pp. 2-3. Concerted action encompasses many types of joint conduct and is not limited

to agreements among competitors to charge the same price. See, e.g., United States v. Socony-

Vacuum Oil Co., 310 U.S. 150, 223, 226 n.59 (1940) (unlawful concerted action can include any

“combination formed for the purpose and with the effect of raising, depressing, fixing, pegging,

or stabilizing the price of a commodity,” including agreement on “the formula underlying price

policies”). For example, this Court has condemned “an agreement on how rates are to be

calculated.” In re Wheat Rail Freight Rate Antitrust Litig., 579 F. Supp. 517, 538 (N.D. Ill.

1984), aff’d sub nom. Matter of Wheat Rail Freight Rate Antitrust Litig., 759 F.2d 1305 (7th Cir.

1985). Accordingly, concerted action is not a singular concept but a robust legal category that

encompasses a range of conduct designed to interfere with independent competition.

       In particular—and especially important here—the Sherman Act can cover concerted

action by competitors on any “formula underlying price policies.” Socony-Vacuum, 310 U.S. at

222, 226 n.59; see also id. at 223 (“an artificial stimulus applied to (or at times a brake on)

market prices, a force which distorts those prices, a factor which prevents the determination of

those prices by free competition alone”). That includes any formula used to fix benchmark,

component, recommended, or “starting point” prices—even if end prices ultimately vary.

Plymouth Dealers’ Ass’n of N. Cal. v. United States, 279 F.2d 128, 132 (9th Cir. 1960) (list

prices); see also, e.g., Catalano, Inc. v. Target Sales, Inc., 446 U.S. 643, 648 (1980) (discounts);



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Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 339 (1982) (maximum fee schedules);

Gelboim v. Bank of Am. Corp., 823 F.3d 759, 765, 771 (2d Cir. 2016) (“benchmark” or

“component” used in contracts setting interest rates).

       Defendants are thus incorrect in arguing that “Plaintiffs’ attempt to plead a conspiracy

through circumstantial evidence fails at the threshold because the conduct they allege is not

parallel.” Class MTD Mem. at 25. Courts assessing the presence of concerted action should look

not just to parallel final prices—reflecting one form of conspiracy—but parallel behavior in

determining prices—reflecting coordination in the approaches to determining prices. For

example, this Circuit has previously rejected attempts to impose minimum rates of adherence

when assessing agreements to fix the starting point of pricing. See In re High Fructose Corn

Syrup Antitrust Litig., 295 F.3d 651, 656 (7th Cir. 2002). Rather than look to rates of adherence,

it has reasoned that the fixed prices necessarily had some influence on the market—thus

disrupting the competitive process—from the very fact that defendants bothered to fix such

prices at all. See United States v. Masonite Corp., 316 U.S. 265, 268-69, 275 (1942). This Circuit

rejected the argument that there could be no horizontal price-fixing conspiracy if “many of the

actual sales” occurred below fixed list prices. High Fructose Corn Syrup Antitrust Litig., 295

F.3d at 656. Because the defendants agreed to fix “the starting point for the bargaining,” their

agreement was covered “even if most or for that matter all transactions occur at lower prices.”

Id. (emphasis added); see also Gelboim, 823 F.3d at 771, 776 (well-established antitrust

precedent “allows an antitrust claim based on the influence that a conspiracy exerts on the

starting point for prices”); Plymouth, 279 F.2d at 132 (“the fact that the dealers used the fixed

uniform list price in most instances only as a starting point[] is of no consequence.”).




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         Moreover, proof of parallel conduct and “plus factors” is not the only way of showing

concerted action through circumstantial evidence. See supra pp. 2-3. In light of the foregoing

principles, Defendants are incorrect to suggest that differences in the application of a pricing

algorithm necessarily foreclose the possibility of a common scheme involving that algorithm.

   II.      Information Exchange Through a Common Pricing Algorithm Can Violate
            Section 1

         Defendants argue that Direct Action Plaintiffs’ information exchange claim fails in

part because they do not allege that payor Defendants “exchanged competitively sensitive

information with each other.” DAP MTD Mem. at 33. To the extent Defendants suggest that

competitors’ exchange of information through an intermediary cannot violate Section 1, this

argument is contrary to law.

         Courts have recognized that sharing information through an algorithm provider can

create the same anticompetitive effects as a direct exchange between competitors because the

algorithm provider “has confidential price strategy information from multiple competitors,

[and] it can program its algorithm to maximize industry-wide pricing” even if “the firms

themselves don’t directly share their pricing strategies.” Duffy v. Yardi Sys., Inc., 2024 WL

4980771, at *5 (W.D. Wash. Dec. 4, 2024) (internal quotations omitted). “The fact that []

defendants did not meet as a group but rather used an intermediary . . . does not preclude the

existence of an agreement or change its unlawful nature.” Id. at *5; cf. In re RealPage, Inc.,

Rental Software Antitrust Litig. (No. II), 709 F. Supp. 3d 544, 549–50 (M.D. Tenn. 2023)

(plaintiffs adequately pleaded a Section 1 claim where centralized algorithm recommended

prices to competitors based on “granularly-focused data”).




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                                      CONCLUSION

       For the foregoing reasons, the Court should decide Defendants’ Motions to Dismiss,

ECF. Nos. 282 & 285, consistent with the legal principles above regarding (1) concerted action

involving pricing algorithms, and (2) information exchange through a common pricing

algorithm.

                                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 27, 2025, I electronically filed the foregoing brief by using

the CM/ECF system. Participants in the case are registered CM/ECF users, and service will

be accomplished by the CM/ECF system.




                                                    /s/ Henry J. Hauser
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